

Matter of Mekayla S. (2024 NY Slip Op 03587)





Matter of Mekayla S.


2024 NY Slip Op 03587


Decided on July 3, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 3, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CURRAN, OGDEN, GREENWOOD, AND KEANE, JJ.


187.1 CAF 23-00849

[*1]IN THE MATTER OF MEKAYLA S. ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; DANIEL K., RESPONDENT-APPELLANT. (APPEAL NO. 2.)






NICHOLAS T. TEXIDO, WEST SENECA, FOR RESPONDENT-APPELLANT. 
BENJAMIN MANNION, BUFFALO, FOR PETITIONER-RESPONDENT.


Appeal from an order of the Family Court, Erie County (Sharon M. LoVallo, J.), entered December 15, 2022, in a proceeding pursuant to Family Court Act article 10. The order, inter alia, determined that respondent abused the subject child. 
It is hereby ORDERED that the order so appealed from is affirmed without costs.
Same memorandum as in Matter of Gabriel H. (Daniel K.) ([appeal No. 1] — AD3d — [July 3, 2024] [4th Dept 2024]).
All concur except Curran and Ogden, JJ., who dissent and vote to reverse in accordance with the same dissenting memorandum as in Matter of Gabriel H. (Daniel K.) ([appeal No. 1] — AD3d — [July 3, 2024] [4th Dept 2024]).
Entered: July 3, 2024
Ann Dillon Flynn
Clerk of the Court








